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 2
 3
 4                                     UNITED STATES DISTRICT COURT
 5                                             DISTRICT OF NEVADA
 6
 7     UNITED STATES OF AMERICA,                 )
                                                 )
 8                       Plaintiff,              )                       Case No. 2:13-cr-00083-JCM-CWH
                                                 )
 9     vs.                                       )                       Order/Report & Recommendation
                                                 )
10     DERRICK PHELPS, et al.,                   )
                                                 )
11                       Defendants.             )
       __________________________________________)
12
                 This matter was referred to the undersigned Magistrate Judge on Defendants’ Joint Motion
13
       to Dismiss Indictment Due to Investigative Delay and Investigative Misconduct (#50), filed
14
       November 15, 2013; the Government’s Response (#57), filed December 5, 2013; and Defendants’
15
       Reply (#58), filed December 10, 2013.1 The matter is also referred on Defendants’ Joint Motion to
16
       Compel Grand Jury Transcripts (#51), filed November 15, 2013; the Government’s Response
17
       (#56), filed December 5, 2013; and Defendants’ Reply (#58). The Court conducted a hearing in
18
       this matter on January 29, 2014.2
19
                                                    BACKGROUND
20
                 On March 6, 2013, the Grand Jury returned an Indictment charging Defendants with
21
       conspiracy to commit bank fraud, mail fraud, and wire fraud in violation of 18 U.S.C. § 1349.3
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23
             1
                 Defendant Linda Mack has joined each of the motions and briefing related thereto. (#53) (#62).
24
             2
              The hearing did not include the calling of any witnesses. The parties, through their respective counsel,
25   presented oral argument on a series of motions then pending, including those currently under consideration. The
26   undersigned notes his appreciation for the professionalism and preparation demonstrated by counsel during the
     hearing.
27
             3
                Section 1349 provides that “[a]ny person who attempts or conspires to commit any offense under this
28   chapter shall be subject to the same penalties as those prescribed for the offense, the commission of which was
     the object of the attempt or conspiracy.” Here, the underlying offenses for which the conspiracy count is charged
     are bank fraud, mail fraud, and wire fraud in violation of 18 U.S.C. §§ 1344, 1341, 1343.
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 1   Defendants were also charged with seven counts (identified in counts 2-8 of the Indictment) of
 2   bank fraud in violation of 18 U.S.C. § 1344. The Government also seeks forfeiture pursuant to18
 3   U.S.C. §§ 981(a)(1)(C), 2461(c).
 4          A. Motion to Dismiss (#50)
 5                  1. Prosecutorial Delay
 6          Defendants seek dismissal of the indictment based on intentional delay in bringing the
 7   indictment and misconduct during the pre-indictment investigation. Defendants claim that the
 8   Government began its underlying investigation in 2008, but intentionally delayed obtaining an
 9   indictment until early 2013. During the initial stages of the investigation, Defendants allege that
10   the Government used intimidating and threatening tactics, including the threat of retaliatory
11   prosecution, to obtain incriminating information and statements from witnesses against Defendants.
12   Even though these witness interviews occurred in 2008-09, the Government still waited
13   approximately five (5) years to seek an indictment. This delay was allegedly designed to prejudice
14   Defendants by ensuring that witnesses would either be unable to recall important facts during trial
15   or, alternatively, assert their Fifth Amendment right against self-incrimination rather than testify
16   and face prosecution. It was also allegedly intended to make jury selection more difficult due to the
17   negative bias of jurors regarding criminal cases involving home mortgages. Defendants point to an
18   email response from an individual investigating the case which states: “Realistically, [Derrick]
19   Phelps will probably be indicted in FY 2010.” See Ex. 2 attached to Defs’ Mot. (#50).
20          The Government responds that it did not delay, intentionally or otherwise, in obtaining the
21   indictment. It maintains that, on or around April 2, 2009, the United States Postal Inspection
22   Service (“USPIS”) in conjunction with the Southern Nevada Mortgage Fraud Task Force began
23   investigating Defendants. The investigation resulted in the accumulation of over 190,000 pages of
24   documents connected with approximately 233 allegedly fraudulent transactions. The 190,000
25   pages of documents includes lender files, escrow files, bank records, and loss documentation. The
26   investigating case agent did not receive the last subpoenaed documents for review until January 4,
27   2013. As part of the investigation, USPIS Inspector Vicki Lenard, retired Postal Inspector and
28   contract worker, Roberto Hernandez, and FBI agents talked with or interviewed approximately 48

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 1   witnesses beginning in 2009 and continuing into 2013. The last of these pre-indictment witness
 2   interviews was conducted on or around February 5, 2013. The most recent interview, conducted
 3   post-indictment, was in November 2013. The Government categorically denies delaying obtaining
 4   an indictment in order to gain an advantage over Defendants. To the extent there is any prejudice
 5   that results from the timing of the indictment, the Government contends it accrues equally to all
 6   parties. It further asserts that the reasons proffered in support of dismissal are simply generalized,
 7   speculative assertions insufficient to demonstrate actual prejudice. Lastly, it asserts that the
 8   decision to wait for Defendant Mack to respond to a pre-indictment offer is not prejudicial.
 9          In reply, Defendants reject the timeline offered by the Government, asserting that the
10   investigation started (or at least should have started ) in 2007, when law enforcement was first
11   informed of potential criminal conduct. They contend that the documents produced show that the
12   investigation did start in or around May 2008, not April 2009. Defendants also reject the notion
13   that the conduct of the investigating law enforcement personnel in interviewing potential witnesses
14   was anything other than an improper attempt to threaten or intimidate these potential witnesses
15   with prosecution to obtain incriminating statements against Defendants. Ultimately, Defendants
16   contend that the delay and tactical interviewing are sufficient to establish prejudice. The interview
17   tactics will lead to witnesses asserting the Fifth Amendment while testifying to avoid threatened
18   prosecution. The delay will ensure a tainted jury pool predisposed to negative bias regarding
19   criminal home mortgage cases based on their own financial hardships during the time when the
20   case should have been indicted.
21                  2. Investigative Misconduct
22          The allegations of investigative misconduct closely mirror the allegations of intentional
23   delay. Defendants allege that the conduct of investigators while conducting pre-indictment witness
24   interviews and obtaining documents in furtherance of the underlying investigation was improper.
25   Specifically, it is alleged Postal Inspectors Robert Hernandez and Vicki Lenard intimidated and
26   pressured witnesses into either making statements against Defendants or demanding documents
27   under the threat of prosecutorial retaliation. Defendants provide specific instances involving
28   investigators telling witnesses they could be indicted if they did not give detailed information

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 1     during interviews and offering their own prejudicial and conclusory remarks to witnesses.
 2     Defendants assert that the Grand Jury proceedings and testimony was “likely impacted” or
 3     “infected” by the following, allegedly intimidating tactics employed by investigators:
 4           1.On May 28, 2008 Inspector Hernandez conducted an interview with Mario
             Gonzalez:
 5
             Hernandez: You’re here right now as a witness. Don’t put yourself in a position
 6           where you become a co-defendant...
 7           Witness: Believe me that’s a concern.
 8           Hernandez: So, while the tape recorder’s going, while we are in this phase of the
             investigation, tell me is there anything else I should know ... and specifically if
 9           you are in doubt, if you have any questions in your mind as to whether you should
             tell me or not, use this guide, if you think you will be embarrassed by it, you better
10           tell me ... you may become a co-defendant, so think hard. What’s your email
             address?4
11
             2. Defendants summarize an interview on June 11, 2008 with Dominic Rogers,
12           indicating that Inspector Hernandez said that “Mortgage fraud is a white collar
             crime,” that the US Attorney was “clamping down” on “mortgage fraud,” that he
13           did a “background check” on Rogers, and that this was his “future.” Moreover, he
             stated that Rogers was “young and had a lot to lose,” and that “people are going to
14           be arrested and are going to the grand jury ... and will make deals,” and that “this
             is basically a warning.” He also told Rogers that Rogers was not being entirely
15           honest.
16           3. Defendants summarize an interview with Antoine Lee on December 4, 2008 in
             which Inspector Hernandez told Lee that he would be meeting with the Attorney
17           General’s Office and that there would be “finger pointing.”
18           4. Defendants summarize an interview with L. Godino on June 10, 2009 in which
             Inspector Hernandez indicated that Defendant Phelps was being investigated for
19           “Mortgage Fraud” and that he had learned that Phelps was “dictator” and “bully,”
             and that “if you helped them (the Defendants) you will have issues, you will have
20           problems,” and that “you understand the implication.”
21           5. Defendants summarize an interview with C. and T. Clark on August 27, 2009
             in which C. Clark expressed concern about being recorded, and that Inspector
22           Hernandez indicated that “mail fraud” has been committed.
23           6. Defendants allege that the investigators were exchanging emails with witnesses
             prior to the indictment being filed. Specifically, they allege that Stan Ayers
24           provided a slide show presentation related to the Phelps, that Inspector Hernandez
             requested J. Cummings email him information related to property which she
25           purchased, and that M. Glover was asked to email copies of documents in his
26
             4
27             Hernandez later stated: “Oh God ... I gotta tell you something. I’ve been doing this for thirty years.
     When someone starts to stumble like you. Mario, give it up or be indicted.” Defendants also alleged that at the
28   end of the interview, Hernandez instructs Gonzalez how to testify before the Grand Jury.

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 1        possession.5
 2   See Defs’ Mot. (#50) at 4:10 - 7:25.
 3            In response, the Government notes that the request to dismiss is based upon investigative
 4   misconduct, not prosecutorial misconduct. The Government acknowledges the interview tactics
 5   used by investigators, but argues that the techniques are common law enforcement techniques used
 6   in order to persuade interviewees to be truthful. The Government contends that none of the
 7   techniques is contrary to statutory or constitutional law. The Government rejects the notion that
 8   Court may exercise its supervisory authority to preserve judicial integrity for conduct that occurred
 9   outside the courtroom. Lastly, the Government maintains that there is no order that can be entered
10   to deter future misconduct because none of the conduct was illegal or improper.
11            In reply, Defendants concede that they are not alleging direct prosecutorial misconduct, but
12   seeking dismissal for investigative misconduct pursuant to Aguilar v. Woodford, —F.3d—, 2013
13   WL 3870727 *13 (9th Cir.), contending that such misconduct can be imputed to the prosecution.
14   Defendants reiterate their position that the interview techniques went well beyond standard
15   investigative conduct and were, in fact, improperly coercive.
16            B. Motion to Compel Grand Jury Transcripts (#51)
17            Defendants’ motion to compel grand jury transcripts is premised on the allegedly improper
18   interview techniques used during the investigation. Defendants specifically incorporate the
19   arguments made in their motion to dismiss (#50), and request the grand jury transcripts due to the
20   threatening, intimidating, and coercive interview tactics employed by the investigators in this
21   matter prior to indictment. Such disclosure will, Defendants argue, provide further information
22   regarding the alleged investigative misconduct.
23            The Government responds that the Defendants have not met their heavy burden to show
24   they are entitled to the grand jury transcripts. It disagrees that the investigative techniques were
25   coercive. It further notes that it will provide relevant grand jury testimony as required under 18
26   U.S.C. § 3500(b), Fed. R. Crim. P. 26.2(a), and the parties’ joint discovery agreement. It disagrees
27
28        5
              The Court was not provided with details beyond what is described here.

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 1     that the grand jury transcripts should be disclosed in any fashion other than as contemplated by
 2     rules and discovery agreement.6
 3              In reply, Defendants argue that the Government should not be permitted to minimize the
 4     nature of the investigative tactics used and should be compelled to disclose the grand jury
 5     transcripts.
 6                                                   ANALYSIS
 7              A. Motion to Dismiss (#50)
 8              Defendants’ request that the indictment be dismissed because the Government: (1)
 9     unreasonably delayed in bringing the indictment, and (2) engaged in investigative misconduct prior
10     to seeking an indictment. The Court will address each claim in turn.
11                     1. Delay
12              “The Fifth Amendment guarantees that defendants will not be denied due process as a result
13     of excessive pre-indictment delay.” United States v. Corona-Verbera, 509 F.3d 1105, 1112 (9th
14     Cir. 2007) (citing United States v. Sherlock, 962 F.2d 1349, 1353 (9th Cir. 1989). “Generally, any
15     delay between the commission of a crime and an indictment is limited by the statute of limitations.”
16     Corona-Verbera, 509 F.3d at 1112 (citation omitted). “In some circumstances, however, ‘the Due
17     Process Clause requires dismissal of an indictment brought within the [statute of] limitations
18     period.’” Id. Courts apply a two-part test to determine whether pre-indictment delay resulted in the
19     denial of due process: (1) the defendant must prove actual, non-speculative prejudice from the
20     delay, and (2) the length of the delay, when balanced against the reasons for it, must offend those
21     “those fundamental conceptions of justice which lie at the base of our civil and political
22     institutions.” United States v. Huntley, 976 F.2d 1287, 1290 (9th Cir. 1992) (citing United States v.
23     Lovasco, 431 U.S. 783, 790 (1977). A defendant must satisfy both prongs, but “[t]he second prong
24     of the applies only if [the defendant] has demonstrated actual prejudice.” Corona-Verbera, 509
25     F.3d at 1112 (citation omitted).
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               The Government has agreed to provide defense counsel with grand jury transcripts of testimony offered
28   by witnesses it intends to call at trial ten days before trial.

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 1                          i. Actual Prejudice
 2          Defendants must first prove that the pre-indictment delay resulted in actual, non-speculative
 3   prejudice. The Ninth Circuit “has found the burden of showing actual prejudice is heavy and is
 4   rarely met.” See e.g. United States v. Gilbert, 266 F.3d 1180, 1187 (9th Cir. 2001) (internal
 5   quotation marks and citations omitted); see also Sherlock, 962 F.2d at 1354; Huntley, 976 F.2d at
 6   1290. Defendants contend that they have suffered prejudice in two ways: (1) witnesses who have
 7   been intimidated and threatened with prosecution will presumably assert their Fifth Amendment
 8   rights against self-incrimination, thus hindering the presentation of testimony favorable to the
 9   defendants, and (2) potential jurors will be harder to select due to their negative bias regarding
10   criminal cases involving home mortgages.
11          Defendants candidly concede that this basis of prejudice is somewhat premature. The Court
12   agrees. At this stage, the supposed prejudice does not rise above the level of generalized assertions.
13   “Generalized assertions of the loss of memory, witnesses, or evidence are insufficient to establish
14   actual prejudice.” E.g. United States v. Manning, 56 F.3d 1188, 1194 (9th Cir. Cal. 1995).
15   Defendants have not identified any witness who might assert his or her Fifth Amendment rights.
16   To the extent they believe those individuals interviewed prior to the indictment will be forced to
17   invoke their Fifth Amendment rights against self-incrimination rather than provide testimony, the
18   claims are speculative. The Court notes that it is not uncommon for witnesses at trial to invoke
19   their Fifth Amendment rights against self-incrimination. The Court also notes that any deal or
20   agreement for immunity in exchange for testimony must necessarily be disclosed under United
21   States v. Bagley, 473 U.S. 667, 676 (1985) (holding that the duty to disclose evidence encompasses
22   impeachment evidence as well as exculpatory evidence). The deliberate or inadvertent non-
23   disclosure of evidence showing that prosecution witnesses were granted immunity in exchange for
24   testimony violates a defendant’s due process rights if it is prejudical. E.g. Giglio v. United States,
25   405 U.S. 150, 154 (1972). Even assuming witnesses may invoke their Fifth Amendment rights
26   against self-incrimination, Defendants must show both that lost testimony, witnesses, or evidence
27   meaningfully has impaired their ability to defend themselves, and the proof must demonstrate by
28   definite and non-speculative evidence how the loss of a witness or evidence is prejudicial to their

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 1   case. Corona-Verbera, 509 F.3d at 1112. All that has been made here is the speculative claim that
 2   the potential invocation by unidentified witnesses of their Fifth Amendment rights will be
 3   prejudicial. This allegation, without more, is insufficient to show actual prejudice. See Gilbert,
 4   266 F.3d at 1187 (“A simple allegation that testimony was lost is not enough.”).
 5          The Court is not persuaded by the suggestion that the delay in bringing the indictment is
 6   prejudicial because potential jurors will be biased because of the nature of the crimes charged. The
 7   claim is entirely speculative. Even if the undersigned were inclined to believe that jurors would be
 8   biased because of the 2008 financial collapse (which it is not), that bias would ostensibly lessen,
 9   not increase, as time passed. It is mere speculation that the anticipated difficulty of selecting such a
10   jury is different now than it would have been two or three years ago, or that an appropriate jury
11   cannot now be selected. Given the requirement that allegations of prejudice “be supported by
12   non-speculative proof,” Corona-Verbera, 509 F.3d at 1113, the Court finds this rationale
13   unpersuasive. Lastly, the Court rejects the claim that Defendants have suffered prejudice because
14   some of the files from the 233 transactions underlying the conspiracy charge were no longer
15   available due to institutions no longer being in business or because the files were destroyed.
16   Defendants have not provided any example or made a non-generalized, non-speculative showing
17   that any documents to support this claim. Thus, the Court finds it insufficient to demonstrate actual
18   prejudice.
19                          ii. Reason for the delay
20          In order to invoke analysis under the second prong of the two-part test for pre-indictment
21   delay rising to a due process violation, Defendants must satisfy the first prong. Having failed to do
22   so, the Court need not analyze the claims under second prong. Nevertheless, even assuming actual
23   prejudice, the Court has little difficulty finding that the delay did not offend those “fundamental
24   conceptions of justice which lie at the base of our civil and political institutions.” See
25   Corona-Verbera, 509 F.3d at 1112 (citation omitted).      As succinctly stated in Lovasco, “the Due
26   Process Clause does not permit courts to abort criminal prosecutions simply because they disagree
27   with a prosecutor’s judgment as to when to seek an indictment. Judges are not free, in defining due
28   process to impose on law enforcement officials our personal and private notions of fairness and to

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 1     disregard the limits that bind judges in their judicial function.” 431 U.S. at 790 (internal quotations
 2     and citations omitted). So long as delay is not undertaken solely “to gain tactical advantage of the
 3     accused,” the Court will generally defer to the decision of the prosecutor. C.f. Sherlock, 962 F.2d
 4     at 1354-55 (citations omitted); see also United States v. Pino, 708 F.2d 523, 527 (10th Cir. 1983)
 5     (applying the Lavasco framework, the Tenth Circuit stated that “[t]he rights of a defendant under
 6     the due process clause of the Fifth Amendment are not violated in the absence of a showing . . . that
 7     the delay was purposefully designed to gain a tactical advantage or to harness the defendants.”)
 8     (citations omitted).
 9               The undersigned is satisfied that, assuming a demonstration of actual prejudice, the reasons
10     proffered for the delay are sufficient. The Government has set forth a record of investigative efforts
11     involving interactions with 48 witnesses, identifying hundreds of transactions, and compiling
12     thousands of pages of documents over several years. Even accepting Defendants’ contention that
13     the investigation began as early as 2008, they provide no facts to support their argument that the
14     delay was purposefully designed to gain a tactical advantage or for the purpose of harassment.
15     Under the circumstances, and absent proof of such allegations, the court cannot say that the delay
16     within the statute of limitations, and not for tactical advantage, was so unreasonable as to violate
17     the Due Process Clause.
18                      2. Investigative Misconduct
19               The Ninth Circuit has held that dismissal of an indictment is inappropriate absent “flagrant”
20     and “substan[tially] prejudic[ial]” misconduct. United States v. Jacobs, 855 F.2d 652, 655 (9th Cir.
21     1988).7 The adage that “[t]he Court’s power to dismiss an indictment on the ground of
22     prosecutorial misconduct is frequently discussed but rarely invoked[,]” remains true. See United
23     States v. Samango, 607 F.2d 877, 881 (9th Cir. 1979). Generally, courts will not interfere with
24     prosecutorial discretion unless the abuse is so flagrant and prejudical that it violates due process.
25
             7
26             Defendants claim no misconduct by the prosecutors in this case, but rely upon Aguilar v. Woodford,
     __F3d __, 2013 WL 3870727, at *13 (9th Cir. 2013) for the proposition that the conduct of the criminal
27   investigator is imputed to the prosecutor. The government did not resist this proposition. Although Aguilar is a
     case involving the disclosure of Brady material, for the purposes of this motion, the court will analyze alleged
28   investigator misconduct to be attributable to the government under the auspices of prosecutorial misconduct.

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 1     Id. Notably, even in cases involving prosecutorial misconduct which is neither flagrant nor
 2     prejudicial, a judge can still sanction the misconduct as long as the chosen sanction is proportionate
 3     to the misconduct. See e.g. United States v. Cadet, 727 F.2d 1453, 1470 (9th Cir. 1984); see also
 4     United States v. Chapman, 524 F.3d 1073, 1084 (9th Cir. 2008). In Chapman, the Ninth Circuit
 5     identified two available theories under which an indictment can be dismissed as a result of
 6     prosecutorial misconduct: (1) the government’s conduct is so extreme and outrageous that it
 7     constitutes due process violation, or (2) under its supervisory powers, a court is empowered to act
 8     “to implement a remedy for the violation of a recognized statutory or constitutional right; to
 9     preserve judicial integrity by ensuring that a conviction rests on appropriate considerations validly
10     before a jury; and to deter future illegal conduct. 524 F.3d at 1084.
11                              i. Violation of a recognized statutory or constitutional right
12               Dismissal is appropriate when a federal constitutional or statutory right has been violated
13     and no lesser remedial action is available. United States v. Barrera-Moreno, 951 F.2d 1089, 1092
14     (9th Cir. 1991). There is no suggestion that the conduct of investigators during the pre-indictment
15     interviews violated statutory or constitutional law. In United States v. Simpson, 927 F.2d 1088,
16     1090 (9th Cir. 1991) abrogated on other grounds, see United States v. W.R. Grace, 526 F.3d 499,
17     511 n.9 (9th Cir. 2008) (recognizing abrogation), the Ninth Circuit found that although the
18     government’s conduct was sleazy, there was no violation of any statutory or constitutional right that
19     formed the basis of its exercise of its supervisory power. 927 F.2d at 1090.8 “The supervisory
20     power simply does not give the courts the authority to make up the rules as they go, imposing limits
21     on the executive according to whim or will.” Id. (citation omitted).
22               Here, Defendants primary argument is that the interview tactics used by investigators prior
23     to indictment in this matter were improper. They contend that investigators, through intimidation
24
25           8
               In Simpson, the FBI used a prostitute, heroin user and known fugitive as an informant against Simpson.
     Id. at 1089. The informant developed an emotional and sexual relationship with Simpson. Id. Throughout the
26
     investigation and while on the FBI payroll, the informant engaged in prostitution, heroin use and shoplifting. Id.
27   “In addition, the FBI allowed [the informant] to keep $10,000 profit from one of the heroin sales she arranged.”
     Id. The Ninth Circuit reversed the district court’s dismissal, “holding that the government’s behavior was not so
28   outrageous as to violate the Constitution.” Id.

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 1   and coercion, pressured witnesses to give incriminating statements and produce documents and
 2   other items in order to further their investigation. The undersigned has reviewed the summarized
 3   statements provided by Defendants and finds there was no inappropriate pressure, intimidation, or
 4   coercion being applied by investigators. The Ninth Circuit has acknowledged that law enforcement
 5   commonly engage in similar tactics when conducting interviews: “[T]rickery is not automatically
 6   coercion. Indeed, the police commonly engage in such ruses as suggesting to a suspect that a
 7   confederate has just confessed or that police have or will secure physical evidence against the
 8   suspect.” United States v. Crawford, 372 F.3d 1048, 1061 (9th Cir. 2004); see also Frazier v.
 9   Cupp, 394 U.S. 731, 737-739 (1969) (holding that confession was voluntary even though the
10   officer falsely told the suspect that his co-conspirator had confessed to the crime); United States v.
11   Orso, 266 F.3d 1030, 1039 (9th Cir. 2001) (en banc) (holding that an inspector’s misrepresentation
12   that a piece of evidence existed, while reprehensible, does not constitute coercive conduct);
13   Clanton v. Cooper, 129 F.3d 1147, 1158 (10th Cir. 1997) (holding that a confession was voluntary
14   despite the fact that an officer falsely told the defendant that physical evidence connected him to
15   the crime). Insisting that witnesses tell the truth, or warning a witness that a false statement to a
16   federal law enforcement agent carries a criminal penalty, is not inappropriate. Consequently, there
17   being no demonstrated statutory or constitutional violation, the undersigned is not inclined to
18   recommend substituting a “judicial wag-of-the-finger for the prosecutorial nod.” Id. at 1091.
19                           ii. Preservation of Judicial Integrity
20           Courts may also exercise the supervisory power “to preserve judicial integrity” by ensuring
21   that a jury’s decision rests on “appropriate considerations validly before [it].” United States v.
22   Hasting, 461 U.S. 499, 505 (U.S. 1983). Judges exercise substantial discretion over what happens
23   inside the courtroom. However, as stated in Simpson, “[t]he supervisory power comprehends
24   authority for the courts to supervise their own affairs, not the affairs of the other branches; rarely, if
25   ever, will judicial integrity be threatened by conduct outside the courtroom that does not violate a
26   federal statute, the Constitution or a procedural rule. Simpson, 927 F.2d at 1091. Here, the
27   undersigned agrees with the Government that the conduct complained of occurred outside the
28   courtroom and, therefore, the preservation of judicial integrity is not proper ground for dismissal.

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 1                           iii. Deter future illegal conduct
 2           “The supervisory power may also be used to create remedies designed to deter future illegal
 3   conduct.” Simpson, 927 F.2d at 1091. If there is no past illegal conduct for which the government
 4   is responsible, there supervisory authority cannot be used to deter the government from future
 5   misconduct. Id. Here, Defendants have not shown that the investigators violated any statutory,
 6   constitution, or other rule during the course of the interviews in question. Thus, there being no
 7   prior illegal conduct, there is no future illegal conduct to deter.
 8           B. Motion to Compel Grand Jury Transcript (#51)
 9           Defendants’ motion to compel grand jury transcripts flows from the facts underlying the
10   motion to dismiss. It is premised on the proposition that the interview techniques used during the
11   pre-indictment investigation were so improper that disclosure of the grand jury transcripts is
12   necessary to determine whether such conduct continued before the Grand Jury. “The court may
13   authorize disclosure–at a time, in a manner, and subject to any other conditions that it directs–of a
14   grand-jury matter ... at the request of a defendant who shows that a ground may exist to dismiss the
15   indictment because of a matter before the grand jury.” See Fed. R. Crim. P. 6(e)(3)(E),
16   (e)(3)(E)(ii). “A party seeking disclosure of the grand jury transcripts must demonstrate a
17   ‘particularized need’ for the disclosure.” United States v. Perez, 67 F.3d 1371, 1381 (9th Cir.
18   1995) (citations omitted). “The standards the trial court should apply in granting disclosure of the
19   grand jury transcripts are ‘(1) that the desired material will avoid a possible injustice, (2) that the
20   need for disclosure is greater than the need for continued secrecy, and (3) that only the relevant
21   parts of the transcripts should be disclosed.” Id. (quotations and citations omitted). A speculative
22   claim does not meet the particularized-need standard. E.g. United States v. Walczak, 783 F.2d 852,
23   857 (9th Cir. 1986). There must be some evidence adduced to support the request for disclosure.
24           Defendants have not met their burden to show that the grand jury transcripts should be
25   released. The request is premised entirely on the position, as set forth and rejected above, that
26   investigators committed misconduct during pre-indictment interviews of witnesses. Having
27   determined that the investigators did not engage in misconduct, the undersigned finds that there is
28   no particularized need justifying release of the grand jury transcript. As noted in the briefing,

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 1   portions of the grand jury proceedings will need to be disclosed at a later date pursuant to 18 U.S.C.
 2   § 3500(b), Fed. R. Crim. P. 26.2(a), and the parties’ joint discovery agreement. The Court,
 3   however, will not order complete disclosure at this time.
 4          Based on the foregoing and good cause appearing therefore,
 5          IT IS HEREBY ORDERED that Defendants’ Joint Motion to Compel Grand Jury
 6   Transcripts (#51) is denied.
 7                                          RECOMMENDATION
 8          IT IS HEREBY RECOMMENDED that Defendants’ Joint Motion to Dismiss Indictment
 9   Due to Investigative Delay and Investigative Misconduct (#50) be denied.
10                                                  NOTICE
11          Pursuant to Local Rule IB 3-2, any objection to this Finding and Recommendation must be
12   in writing and filed with the Clerk of the Court within fourteen (14) days. The Supreme Court has
13   held that the courts of appeal may determine that an appeal has been waived due to the failure to
14   file objections within the specified time. Thomas v. Arn, 474 U.S. 140, 142 (1985). This circuit
15   has also held that (1) failure to file objections within the specified time and (2) failure to properly
16   address and brief the objectionable issues waives the right to appeal the District Court’s order
17   and/or appeal factual issues from the order of the District Court. Martinez v. Ylst, 951 F.2d 1153,
18   1157 (9th Cir. 1991); Britt v. Simi Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir. 1983).
19          DATED: March 18, 2014.
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                                                    ______________________________________
22                                                  C.W. Hoffman, Jr.
                                                    United States Magistrate Judge
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